Case:13-30277-TBM Doc#:103 Filed:06/13/18                 Entered:06/13/18 13:41:42 Page1 of 2




                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF COLORADO

 In re Matthew R. Dolloff,                     )
                                               )
                        Debtor.                )       Case No. 13-30277-TBM
                                               )
                                               )       Chapter 13

                     RESPONSE TO TRUSTEE’S MOTION TO DISMISS


        Matthew R. Dolloff (“Debtor”) through his counsel, Michael J. Watton and the Watton

 Law Group, hereby responds to the Motion to Dismiss filed by the Chapter 13 Trustee.

         Debtor incurred unanticipated expenses. The expenses caused him to fall behind on the plan

 payments. Debtor made a payment of $330.00, which brought him current through May. Debtor

 is making efforts to bring his account fully current forthwith.

        Wherefore, Debtor respectfully requests that the Court deny the Trustee’s Motion to

 Dismiss and hold a hearing on the matter.


 Dated: June 13, 2018                          Respectfully submitted,

                                               WATTON LAW GROUP


                                               _/s/ Michael J. Watton
                                               Michael J. Watton, Esq., No. 46893
                                               301 West Wisconsin Avenue, 5th Floor
                                               Milwaukee, WI 53203
                                               Telephone: 720-590-4600
                                               Fax: 303-295-0242
                                               Email: wlgdnvr@wattongroup.com
Case:13-30277-TBM Doc#:103 Filed:06/13/18                Entered:06/13/18 13:41:42 Page2 of 2




                                        CERTIFICATE OF SERVICE

 The undersigned hereby certifies that a true and correct copy of the foregoing Response was
 served by placing the same in the United States Mail, first class postage pre-paid or via
 electronic service (if the parties accept service in that manner) on June 13, 2018 to the following:

 Douglas Kiel
 Chapter 13 Trustee
 4725 South Monaco Street, Suite 120
 Denver, CO 80237

 United States Bankruptcy Trustee
 Byron G. Rogers Federal Building
 1961 Stout Street, Suite 12-200
 Denver, CO 80294-1961



 /s/ Tammy Her
 Legal Assistant for Debtor’s Counsel
